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     3                     UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICTOF FLORIDA
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     5
          VICTORIA CHRISTIAN RUSSELL,            CASE NO. 1:22-CV-23427-JEM
     6
     7            PLAINTIFF,
                                                 MOTION FOR INJUNCTIVE RELIEF
     8    VS.                                    AND AN EMERGENCY HEARING
     9
          BARON JEFFERSON RUSSELL
    10
          ROBERT RUSSELL
    11
          LISA RUSSELL
    12
          VICKI Q. SMITH
    13
          BOBBY LEE SMITH JR.                    HEARING
    14
          FBI AGENT GREGORY PHILLIPS
    15
          ,                                      Date:
    16    Individually,                          Time:
                                                 Place:
    17
                    DEFENDANT(S)
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     1   1. COMES NOW, Plaintiff, Victoria Christian Russell, in the above case, by and through the
     2   2. undersigned counsel, filing this Motion to Reopen the case and get a federal injunction
     3        against Defendants.
     4   3. The Plaintiff has a great need to reopen the case and shorten the with prejudice period.
     5
     6   4.   The defendants have Filed a Stalking Complaint, a motion for Child Support and a Petition
     7        for Protection against Domestic Violence against Plaintiff.
     8
     9   5.The Stalking Complaint contains a provision for ten years in prison, for violation of the
    10   Complaint against Robert Russell or any of the Defendants.
    11
    12   6.Pursuant to Federal Rules of Civil Procedure 60(b) and 65(a), Plaintiff Victoria Christian
    13   Russell respectfully moves this Court to reopen the above-captioned case and grant a preliminary
    14   injunction against the listed Defendant(s) to prevent them from proceeding in their sham legal
    15   process and doing illegal acts in violation of federal law.
    16
    17   7. This Court dismissed the above-captioned case on December 29, 2022 (the "Dismissal
    18   Order"), on the grounds of the "Domestic Relations" exception. However, the Plaintiff contends
    19   that this exception does not apply entirely in this case and believes that the case was dismissed
    20   prematurely, as demonstrated in Ankenbrandt v. Richards, 504 U.S. 689 (1992), where the
    21   Supreme Court recognized exceptions to the domestic relations doctrine. The Amended
    22   Complaint was mailed to all Defendants by January 2023.
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     2   8. The Plaintiff seeks relief from the Dismissal Order pursuant to Federal Rule of Civil
     3   Procedure 60(b) due to the complexity of the case and the presence of several issues that require
     4   relief only from a Federal court. The Plaintiff also alleges that the Defendant(s) have recently
     5   filed yet another court case in Georgia regarding a Stalking Protective Order, which includes
     6   false allegations, unclean hands, and is retaliatory in nature. Making this approximately 10 or
     7   more court cases in Georgia. The Plaintiff cites the case of Mitchell v. Robert DeMario Jewelry,
     8   361 U.S. 288, 291-292 (1960), which demonstrates that relief under Rule 60(b) may be granted
     9   in exceptional circumstances.
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     3   9. Rule 65. Injunctions and Restraining Orders
     4   (a) PRELIMINARY INJUNCTION.
     5   (1) Notice. The court may issue a preliminary injunction only
     6   on notice to the adverse party.
     7   (2) Consolidating the Hearing with the Trial on the Merits. Before
     8   or after beginning the hearing on a motion for a preliminary
     9   injunction, the court may advance the trial on the merits
    10   and consolidate it with the hearing. Even when consolidation
    11   is not ordered, evidence that is received on the motion and
    12   87 FEDERAL RULES OF CIVIL PROCEDURE Rule 65
    13   that would be admissible at trial becomes part of the trial
    14   record and need not be repeated at trial. But the court must
    15   preserve any party’s right to a jury trial.
    16   (b) TEMPORARY RESTRAINING ORDER. (TRO)
    17   (1) Issuing Without Notice. The court may issue a temporary
    18   restraining order without written or oral notice to the adverse
    19   party or its attorney only if:
    20   (A) specific facts in an affidavit or a verified complaint
    21   clearly show that immediate and irreparable injury, loss,
    22   or damage will result to the movant before the adverse
    23   party can be heard in opposition; and
    24   (B) the movant’s attorney certifies in writing any efforts
    25   made to give notice and the reasons why it should not be
    26   required.
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     1   (2) Contents; Expiration. Every temporary restraining order
     2   issued without notice must state the date and hour it was issued;
     3   describe the injury and state why it is irreparable; state
     4   why the order was issued without notice; and be promptly filed
     5   in the clerk’s office and entered in the record. The order expires
     6   at the time after entry—not to exceed 14 days—that the
     7   court sets, unless before that time the court, for good cause,
     8   extends it for a like period or the adverse party consents to a
     9   longer extension. The reasons for an extension must be entered
    10   in the record.
    11   (3) Expediting the Preliminary-Injunction Hearing. If the order
    12   is issued without notice, the motion for a preliminary injunction
    13   must be set for hearing at the earliest possible time, taking
    14   precedence over all other matters except hearings on older
    15   matters of the same character. At the hearing, the party who
    16   obtained the order must proceed with the motion; if the party
    17   does not, the court must dissolve the order.
    18   (4) Motion to Dissolve. On 2 days’ notice to the party who obtained
    19   the order without notice—or on shorter notice set by
    20   the court—the adverse party may appear and move to dissolve
    21   or modify the order. The court must then hear and decide the
    22   motion as promptly as justice requires.
    23   (c) SECURITY. The court may issue a preliminary injunction or
    24   a temporary restraining order only if the movant gives security in
    25   an amount that the court considers proper to pay the costs and
    26   damages sustained by any party found to have been wrongfully enjoined
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     1   or restrained. The United States, its officers, and its agencies
     2   are not required to give security.
     3   (d) CONTENTS AND SCOPE OF EVERY INJUNCTION AND RESTRAINING
     4   ORDER.
     5   (1) Contents. Every order granting an injunction and every
     6   restraining order must:
     7   (A) state the reasons why it issued;
     8   (B) state its terms specifically; and
     9   (C) describe in reasonable detail—and not by referring to
    10   the complaint or other document—the act or acts restrained
    11   or required.
    12   (2) Persons Bound. The order binds only the following who receive
    13   actual notice of it by personal service or otherwise:
    14   (A) the parties;
    15   (B) the parties’ officers, agents, servants, employees, and
    16   attorneys; and
    17   Rule 65.1 FEDERAL RULES OF CIVIL PROCEDURE 88
    18   (C) other persons who are in active concert or participation
    19   with anyone described in Rule 65(d)(2)(A) or (B).
    20   (e) OTHER LAWS NOT MODIFIED. These rules do not modify the
    21   following:
    22   (1) any federal statute relating to temporary restraining orders
    23   or preliminary injunctions in actions affecting employer
    24   and employee;
    25   (2) 28 U.S.C. § 2361, which relates to preliminary injunctions
    26   in actions of interpleader or in the nature of interpleader; or
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     1   (3) 28 U.S.C. § 2284, which relates to actions that must be
     2   heard and decided by a three-judge district court.
     3   (f) COPYRIGHT IMPOUNDMENT. This rule applies to copyright-impoundment
     4   proceedings.
     5   (As amended Dec. 27, 1946, eff. Mar. 19, 1948; Dec. 29, 1948, eff. Oct.
     6   20, 1949; Feb. 28, 1966, eff. July 1, 1966; Mar. 2, 1987, eff. Aug. 1, 1987;
     7   Apr. 23, 2001, eff. Dec. 1, 2001; Apr. 30, 2007, eff. Dec. 1, 2007; Mar.
     8   26, 2009, eff. Dec. 1, 2009.)
     9
    10   10. If a Temporary Restraining Order is more appropriate under the circumstances Plaintiff seeks
    11   and requests that relief against the Acts of Defendants.
    12
    13   11. An emergency hearing is sought in regards to this motion, and the newly filed Amended
    14   Complaint of Plaintiff.
    15
    16   12. The Plaintiff asserts a reasonable likelihood of success on the merits of the case. The Plaintiff
    17   refers to the case of Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7 (2008),
    18   which establishes the standard for granting a preliminary injunction.
    19
    20   13. The Plaintiff contends that she will suffer irreparable harm if the injunction is not granted
    21   due to the recent filing in Georgia, the legal abuse and retaliation allowed by the Superior Court
    22   judge, emotional distress, and financial loss. This harm is further exacerbated by the coercive
    23   control exercised by the Defendant(s) and the ongoing separation from her children, for whom
    24   she was the primary caregiver and provider. The Plaintiff cites the case of eBay Inc. v.
    25   MercExchange, L.L.C., 547 U.S. 388 (2006), which highlights the importance of demonstrating
    26   irreparable harm in granting injunctive relief.
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     2   14.     The balance of equities tips in favor of the Plaintiff. The harm suffered by the Plaintiff
     3   due to the Defendant(s)' abuse of the legal system and the resultant violations of her rights
     4   outweigh any inconvenience the Defendant(s) may experience as a result of being enjoined from
     5   acting maliciously and abusing the legal process. The case of Amoco Production Co. v. Village
     6   of Gambell, 480 U.S. 531 (1987), emphasizes the importance of considering the balance of
     7   equities in granting injunctive relief.
     8
     9   15.The public interest would be served by granting the injunction, as it upholds the principles of
    10   justice and fairness in the legal process. Additionally, granting the injunction would help prevent
    11   the Defendant(s) from engaging in fraudulent activities and misusing the legal system to harm
    12   the opposing party. The case of Weinberger v. Romero-Barcelo, 456 U.S. 305 (1982), supports
    13   the consideration of public interest in the context of granting injunctions..
    14
    15   16. The Defendant(s) have engaged in a sham legal process and filed frivolous motions in
    16   violation of federal law, causing undue burden and expense to the Plaintiff and the judicial
    17   system. An injunction is necessary to prevent the Defendant(s) from continuing this conduct and
    18   to protect the Plaintiff's rights. The case of Ashcroft v. American Civil Liberties Union, 542 U.S.
    19   656 (2004), illustrates the importance of injunctive relief to protect plaintiffs' rights in the face of
    20   ongoing violations.
    21
    22   17. Judge Fears of Monroe County has reemerged in the case and is overseeing all three cases
    23   which Plaintiff believes are illegal retaliation and a Violation Of Plaintiff’s Civil Rights.
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     3   18. Plaintiff has filed a Writ Of Prohibition to the Georgia Court of Appeals and a motion to
     4   have the case transferred to Lee County where it rightfully belongs.
     5
     6   19. The Defendants
     7   26. The defendants are, ROBERT WILLIAM RUSSELL, BARRON JEFFERSON RUSSELL,
     8   Lisa RUSSELL, VICKI Q. SMITH, BOBBY LEE SMITH JR and Gregory Phillips, who are
     9   citizens of Georgia. Agent Gregory Smith works for the Federal Bureau of Investigation and
    10   Negligently and purposefully violated the Civil Rights of Plaintiff Professionally and as a Public
    11   Official, and personally.
    12
    13   20.For a discussion of Obergefell’s equal protection holding, see infra Fourteenth Amendment:
    14   Equal Protection of the Laws: The New Equal Protection: Sexual Orientation. Back 12 “If a
    15   State were to attempt to force the breakup of a natural family, over the objections of the parents
    16   and their children, without some showing of unfitness and for the sole reason that to do so was
    17   thought to be in the children’s best interest, I should have little doubt that the State would have
    18   intruded impermissibly on ‘the private realm of family life which the state cannot enter.’” Smith
    19   v. Organization of Foster Families, 431 U.S. 816, 862–63 (1977) (Justice Stewart concurring),
    20   cited with approval in Quilloin v. Walcott, 434 U.S. 246, 255 (1978). Back 13 Moore v. City of
    21   East Cleveland, 431 U.S. 494 (1977) (plurality opinion). The fifth vote, decisive to the invalidity
    22   of the ordinance, was on other grounds. Id. at 513. back
    23   From the Congressional Research Service.
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     2   21. Plaintiff requests relief from dismissal under federal law, and prays that this Court will
     3   enforce federal law for Plaintiff whose federal rights have been violated, and give her a
     4   Temporary Restraining Order or an Injunction, so she can at least have some protection against
     5   Defendants. Plaintiff has a current Protective Order but Defendants have and are completely
     6   disregarding it and it has been difficult to enforce.
     7
     8   22. Plaintiff has prepared two lists. One list is a list of Final Orders in chronological order and
     9   includes the Florida and Georgia Court Orders. The other list is a graph of the same orders.
    10   After reviewing the lists and the facts, it is clear that the laws have been violated by Defendants
    11   and many of the orders issued by the Georgia court are without jurisdiction and void, or illegal.
    12
    13   A.     PLAINTIFF SEEKS AN INJUNCTION FOR THE IMMEDIATE RETURN OF HER
    14   CHILDREN
    15
    16   23. Plaintiff seeks a fundamental right.
    17
    18   24. Custody of the children should never have been given to Robert Russell even if he was to
    19   turn the children over to the grandparents, and an immediate injunction and order for the return
    20   of the children is sought. Under Federal Rule of Civil Procedure 64 a person or property may be
    21   seized and this remedy is sought for the children of Plaintiff Victoria Christian Russell. This
    22   relief is also sought under Florida Family Law Rules, and the applicable statute.
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     2   25. While no amount of money can adequately compensate Plaintiff for what she has gone
     3   through, three million dollars is sought for the physical and mental anguish Victoria Christian
     4   Russell and her children have gone through, as well as Punitive Damages as a jury or judge sees
     5   fit. But right now, an Injunction or TRO is sorely needed.
     6
     7   CONCLUSION
     8   26. Being sued can be an uncomfortable situation for anyone, and the Office hoped to avoid this,
     9   but the cooperation of a few people were needed and never came, and Plaintiff was forced to take
    10   legal action.
    11
    12   27,. Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
    13   knowledge, information, and belief that this complaint: (1) is not being presented for an improper
    14   purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
    15   (2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
    16   reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
    17   identified, will likely have evidentiary support after a reasonable opportunity for further
    18   investigation or discovery; and (4) the complaint otherwise complies with the requirements of
    19   Rule 11.
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     1
     2   Submitted,
     3
     4      DATED: April 21, 2023,
     5
     6                                                 By:.    /s/ Thomas Neusom
     7                                                        Attorney For Plaintiff
                                                              4737 N. Ocean Drive, #129
     8
                                                              Fort Lauderdale, FL 33308
     9                                                        Tel No. (954) 200-3536
                                                              Bar No. 0037148
    10
                                                              Email: tgnoffice34@gmail.com
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     3                   THE EXHIBITS 1 THROUGH 29 ARE FILED UNDER SEPARATE COVER
     4
     5   CERTIFICATE OF SERVICE
     6
     7   Two of the Defendants have been served but not entered the case. The Defendant’s will be
     8   served as soon as possible, and the proof of service will be filed for this Amended Complaint.
     9   But service on Defendant’s could be construed as a violation of the Stalking Order against
    10   Plaintiff and subject this Plaintiff/Mother to Ten Years in prison, so we must be heard Ex Parte
    11   prior to service.
    12
    13   BARON JEFFERSON RUSSELL
    14   Served with Amended Complaint.
    15   ROBERT RUSSELL
    16   Served with Amended Complaint
    17   LISA RUSSELL
    18   Served with Amended Complaint.
    19   VICKI Q. SMITH
    20   Served with Amended Complaint.
    21   BOBBY LEE SMITH JR.
    22   Served Amended Complaint by mail.
    23   FBI AGENT GREGORY PHILLIPS
    24   To be served.
    25
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